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                            Exhibit 18
                  Declaration of Eden Shemuelian
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            (https://www.ucla.edu/)


Bruins Safe Online (/)


Home (/)



Campus Activity Updates (May
1st @ 6:30PM)
Seán Devine       May 01, 2024        Public Safety (/article-category/public-safety)

Campus operations will be limited tomorrow and Friday. Please continue to avoid campus and the
Royce Quad area.

Per Academic Senate guidance on instruction , all in-person classes are authorized and
required to pivot to remote tomorrow and Friday.

Geffen Academy, Lab School and Early Care and Education are closed tomorrow and plans for
Friday will be communicated.

Employees are encouraged to work remotely wherever possible and should consult with their
supervisors. Events and research activities are encouraged to go remote or be rescheduled
wherever possible.

The hospital and health system, other clinical operations, and housing and hospitality facilities
remain open. UCLA Extension classes will continue as scheduled, except for classes scheduled
to be held on the UCLA campus, which will either be moved to other locations or online.

We have a large law enforcement presence stationed throughout campus to help promote safety.
Student Affairs will have essential staff on campus to support our students.




I Related Articles
Westwood Plaza has reopened - ALL CLEAR (/news/westwood-plaza-has-

                         SHEMUELIAN DECLARATION EXHIBIT 18
                                        65
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reopened-all-clear)

Visit Bruins Safe Online for Updates on Campus Operations (/news/visit-bruins-
safe-online-updates-campus-operations)

Campus Activity Updates (May 28th @ 8:45 AM) (/news/campus-activity-updates-
may-28th-845-am)

Campus Activity Updates (May 24th) (/news/campus-activity-updates-may-24th)

Campus Activity Updates (May 23rd @ 5:15 PM) (/news/campus-activity-updates-
may-23rd-515-pm)




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        (https://www.twitter.com/UCLABruinAlert)



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                                                            Download for iOS (https://apps.apple.com/us/app/bruins-

                                                            safe/id1188801627)


CAMPUS LINKS
Campus Evacuation Areas Map (PDF) (https://ucla.box.com/s/wtxny41nn8i7ju6yf9x6b6iyue517epx)

Campus Maps (http://maps.ucla.edu/downloads/)
Fire Dept. Building Numbers (PDF) (https://ucla.box.com/v/UCLAmap-FireDept)

UCLA Newsroom (http://newsroom.ucla.edu/)




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University of California (http://www.universityofcalifornia.edu/)



Emergency (https://www.bso.ucla.edu/)

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Report Misconduct (https://ucla-gme-advocate.symplicity.com/public_report/index.php/pid003665?)

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